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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

 

 

 

 

 

 

 

 

Cusrxi\ C. Awl EE, piantitf CASE NO. CQAE 5: f0-C¥-05100, -K-GER
(Full Name) (To be supplied by the Clerk)

v. OEWANDT EO By Ju :
rE \N AY Ppwet wy 4 __, Defendant (s) CIVIL RIGHTS COMPLAINT
Todividul capac PURSOANI983 ms

A, JURISDICTION
1) Coursttyy C DhOWNLEE , is a citizen of yi t |

 

(Plaintiff)

who presently resides at El Aga Da CORGRECN 1 OWwal Acoli Og RX
(Mailing address or place
QF) OoRADO. awand GYOUa.

of confinement.)

2) Defendant ENMALKY PYWLING is a citizen of

(Name of first defendant)
, and is employed as

The Srare_OF Houses

(City, State)

ACCOM AN (AY E | ,YAADO COREG, racy W _ At the time the

(Position and title, if any}

claim(s) alleged in this complaint arose, was this defendant acting under the color of state

law? Yes 4 No[_]. If your answer is “Yes”, briefly explain:

WW. Dowling tse aca OA arcuri ot Vos
COTA . FaAVAY

XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983

 
3) Defendant AIT CORN is a citizen of

(Name of second defendant)

The, Atak. OF haus as , and is employed as

(City, state)

Aecuri\ Qt El Dorado ere. Fac \ikM _ At the time the

(Position and title, if any)

claim (s) alleged in this complaint arose was this defendant acting under the color of state

law? Yes No [_]. If your answer is “Yes”, briefly explain:

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(Use the back of this page to furnish the above information for additional defendants.)

4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 U.S.C. §1983. (Lf you wish to
assert jurisdiction under different or additional statutes, you may list them below.)
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B. NATURE OF THE CASE

_ 1) Briefly state the background of your case:

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XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983

 
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Cc, CAUSE OF ACTION
1) Tallege that the following of my constitutional nights, privileges or immunities have been |
violated and that the following facts form the basis for my allegations: (If necessary you
may attach up to two additional pages (8h” x 11”) to explain any allegation or to list
additional supporting facts.)
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(2) Supporting Facts: (Include all facts you consider important, including names of
persons involved, places and dates, Describe exactly how each defendant is involved.
State the facts clearly in your own words without citing legal authority or argument.):
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(2) Supporting Facts:

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C) (4) Count II:

 

 

 

 

(2) Supporting Facts:

 

 

 

 

 

 

D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF
1) Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to the conditions of your imprisonment?
Yes [_] No na _ If your answer if “Yes”, describe each lawsuit. (if there is more than
one lawsuit, describe the additional lawsuits on another piece of paper, using the same
outline.)
a) Parties to previous lawsuit:

Plaintiffs:

 

 

Defendants:

 

b} Name of court and docket number

 

 

c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still

pending?)

 

 

d) Issues raised

 

 

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e) Approximate date of filing lawsuit

f) Approximate date of disposition

 

1) Ihave previously sought informal or formal relief from the appropriate administrative
officials regarding the acts complained of in Part C Yes [1 No BA. if your answer is
yes”, briefly describe how relief was sought and the results. If you answer is “No”,
briefly explain why administrative relief was not sought.
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2) REQUEST FOR RELIEF
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Signature of Attorney (if any} Signature of Plaintiff

 

 

 

(Attomey’s full address and telephone number)

XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983

 
 

 

 

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(Name and Title of Officer or Department}

 

 

To be retained by Inmate
Form 9 ( .
For Cellhouse Transfer
Work Assignment Last Name Only
Interview Requests
~ KANSAS DEPARTMENT OF CORRECTIONS
<r now \ -  GOTALAS
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{INMATE REQUEST TO STAFF ‘MEMBER .

To: 18. ALNSOS Date: 6-28-13

(Name and Title of Officer or Department)
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Work Assignment: _ Living Unit Assignment -

Unit Team Members Signature: :

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Employee’s Signature oo To be returned to inmate.
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KANSAS DEPARTMENT OF CORRECTIONS INMATE GRIEVANCE FORM

 

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lB this report was given to Unit Team for informal resolution (to be completed by jnmate).

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ANT Dav) Be inmate within 10 caléndar days.)

iT TEAM RESPONSE (Complete and return to

Unit Team Signature “Date

ete and return to Unit Team within 3 calendar days)

and wish to withdraw Ty formal grievance.
and wish to forward to the Warden's office. (This must be done
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. MATE RESPONSE (Compl
I am satisfied with the Unit Team response

Y am not satisfied with the Unit Team response,

) chin 3 calendar days.) Date forwarded to Warden's Office (to

 

n aate Signature

\VARDEN RESPONSE (Complete, attach response and return within 10 Working days.)

 

 
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Effective Date (3-18-96) P-157

 
 

 

 

 

 

 

 

 

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PHONE: (785) 296-3517
PAX: (785) 296-0014
KDOC_Pub@ks.gov

DEPARTMENT OF CORRECTIONS
714 SW JACKSON STREET, SUITE 300
TOPEKA, KS 66603

 

GOVERNOR JEFF COLYER, M.D.
Joz NORWOOD, SECRETARY

August 14, 2018 . oye

TO: 0073693 BROWNLEE, GUSTIN
E! Dorado Correctional Facility
RE: Special Kind of Problems Grievance

This is in response to your unnumbered grievance wherein you set forth concerns
that you ask be treated as a "Special kind of problems" grievance pursuant to KAR
44-15-201.

The regulation provides that special problem grievances should be reserved for the
most difficult and complex problems. Generally, any matter, which may be
internally handled under the inmate grievance procedure, will not be considered as
appropriate for treatment as a special problem or emergency.

It is the conclusion of this office that the matters raised in your letter do not
constitute difficult or complex problems justifying treating them as special problems.
Instead, the matters raised are the type, which may be handled internaily under the
inmate grievance procedure.

This office will not take further action on your grievance. As indicated above, you
should use the inmate grievance procedure available at the facility level to raise the
concerns you have expressed, if those problems have not already been resolved.

Sincerely,
ae —
EK,

Douglas W. Burris
Corrections Manager, Facility Management

Enclosure-original grievance report form

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INMATE REQUEST TO STAFF MEMBER

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(Name and Title of Officer or Department)

 

 

Unit Team Member Signature To be retained by Inmate
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Form 9 . (uy. \ /
For Cellhouse Transfer \ TOWN 2 5
Work Assignment : “ Last Name Only

 

interview Requests

KANSAS DEPARTMENT OF CORRECTIONS
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(Name and Title of Officer or Department)
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(Name and Tide’ of Officer or Department}

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Unit Team Member Signature To be retained by Inmate
Form 9
For Cellhouse Transfer 0
Work Assignment Last Name-Only
Interview Requests

KANSAS DEPARTMENT OF CORRECTIONS

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Employee’s Signature To be returned to inmate.

 
Form 9
For Celfhouse Transfer BROOK \ \F6.

Work Assignment Last Name Only
Interview Requests

KANSAS DEPARTMENT OF CORRECTIONS

 

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Employee’s Signature . Tobe returned to inmate.
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Ce Ri 7 ON Kansas Department of Corrections
STEALTH = Receipt of Medical Equipment/Appliance Form.

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(Print Name) (Date}

 

Acknowledge receipt of the following medical equipment or appliance:
C1 Cane . .
1 Crutches

C Dentures (5 years)

Cl Eye Glasses (2 years)
OC] Hearing Aid

[ Knee Brace

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(1 Prosthesis — describe:

oO Wheelchair

 

APEX SHOE
Cl Other — describe: B4500

 

CORIZON
Purchased by: HEALTH CARE Expiration Date:

es

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| acknowledge that the equipment/appliance is functional for my use.
Cl acknowledge the equipment/appliance is in good working condition.

Dll acknowledge that this equipment has been purchased for me by Corizon Health Inc., and that
replacement of this equipment/appliance due to loss, damage or willful destruction Is my responsibility.

 

 

 

 

 

 

 

 

 

Inmate Signature : a “\Date

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Witness Signature fo Os Date >.
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- (White-Medical File Yellow-Security Property Officer Pink-Inmate/Patient)
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Issued 11/2014 |

 
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) Zs ON Kansas Department of Corrections

Receipt of Medical Equipment/Appliance Form

 

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(White-Medical File Yellow-Security Property Officer Pink-Inmate/Patient)
NA7O45KS :
- Issued 11/2014

 

 

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Kansas Department of Corrections
Receipt of Medical Equipment/Appliance Form

 

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Ba (White-Medical File " Yellow-Security Property Officer. "Pinkinmate/Patient , :
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“Kansas Department of Corrections
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Pink- inmate/Patient)

(White-Medical File® ; Yel ow-Security Property, Officer
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: (White-Medical File ~-Yellow-Security Property Officer Pink-Inmate/Patient)
* NA7O45KS , . © 2014 Corizon Health, Inc.

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Receipt of Medical Equipment/Appliance Form

 

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(White-Medical File Yellow-Security Property Officer Pink- Inmate/Patint)
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APEX SHOE
C1 .Other — describe: B4500

 

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Purchased by: HEALTH CARE Expiration Date: ws

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(White-Medical File Yellow-Security Property Officer Pink-Inmate/Patient) (
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WEALTH" -'Sdlo para uso médico a Servicio Solicitado
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ee ‘ Effermera- Doctor - “1° Dental,
HEALTH SERVICES REQUEST FORM. _ “Tine Received: || E2Mental Health | Cl Eye Doctor
(Formutlario de Solicitud de Servicios de Salud) : eee a Salud Mental’ “” - | Médico de los ojos
Print Name (Imprimir nombre): [ike Ce ww re
Date of Request (Fecha de solicitud):_\1-\4-1c4
IDET As Date of Birth (Fecha de nacimiento): _ \o-A.- 7%
Housing Location (Ubicacién de ia Vivienda): FF 4~\w3. 7

Nature of problem or request (Naturaleza del problema o solicitud): “Tf ia’. asp bo TE Osgres ‘ oN csr LH TEES

 

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| consent to be treated by health staff for the condition described.
(Da su consentimiento para ser tratada por el persona! de salud para la condicion descrita.)

1understand that my requesting health services does not necessarily mean that | agree that | should be assessed a charge for healthcare
services. If | disagree with any charges assessed, | understand | may file a grievance with the Warden as per KAR 44-15-1011 et seq. |
understand that a $2.00 fee will be assessed for any sick call visit and any non-emergency visit to heath care staff if it is not a follow-up visit
or referral. 5

(Entiendo que mi solicitud respecto de recibir servicios de salud no necesariamente implica que estoy de acuerdd ¢ en que se me cobren cargos
por dichos servicios de salud. Comprendo que, en.caso de no estar de acuerdo con el cobro de algtin cargo, puedo presentar un reclamo ante
el Alcalde, de conformidad con las reglamentaciones del KAR 44-15-101 et seq. Tengo entendido que el personal de salud cobrara un arancel
de.$2. 00, Por cualquier visita aun enfermo oO visita que: no seade urgencia, si cy se trata de una visita de seglimento oO por una derivacién. )

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aa PATIENT SIGNATURE (Paciente Firma)
ON _

PLACE THIS SLIP IN MEDICAL REQUEST BOX OR DESIGNATED AREA (Pon este articulo en la caja médica u otra area designada.)
DO NOT WRITE BELOW THIS AREA (No escriba debajo de esta area.)

(Original —Medical Record Yellow Copy- Inmate/Patient Pink Copy-Business Office)

 

(THE AREA BELOW IS NOT TO BE USED FOR EDUCATION, COUNSELING, OR DOCUMENTING A CLINICAL ENCOUNTER)

Triaged by: ( adoteus Paf

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Date: /// 2 ff fp Time: . am pm (circle one)
Called Down at: hig (for urgent issue)
Other: Og gr

Response Recommendation (to be completed by Medical Staff Only)
Initial OC Nurse ODoctor - Ci Dentist C1 Eye Doctor 1 Mental Health C] ARNP

 

 

 

 

 

Appointment Ei-Nurse (1 Doctor - 1 Dentist C1 eye Doctor CJ Mental Health [1 ARNP
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7?! ON Z ~ FOR MEDICAL USE ONLY ‘Wy. "Service Requested, ~ ny
HEALTH™ ® ys NF * Sélo para uso médico yh de -” Servicio Solicitado: .

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HEALTH SERVICES REQUEST FORM: a WL “Time Received: eA Po Mental Health | G Eye Doctor: >":
(Formutario: de Solicitud de Servicios de Salud) . —_=Z “Salud Mental - Médico de fos ojos .

 

 

 

 

 

 

 

 

 

Print Name sap nombre}: A IS w € BRawv é

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DH: OS TUN AB : Date of Birth (Fecha de nacimlento): Wy 7 x bo 4
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Nature of problem or request (Naturaleza, del problema o solicitud): \. MWie@deetn tn 7G ct SE = k [ L Wee

 

 

 

 

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(Entiendo que mi solicitud respecte de recibir servicios de sali no.necesariamente implica que estoy de acuerdo: en que se me cobren cargos
por dichos servicios de salud. Comprendo que, en caso dé no: estar de acuerdo con el cobro de algtin cargo, puedo presentar un reclamo ante
el Alcalde, de conformidad con las reglamentaciones del KAR ‘44-15-1001 et seq. Tengo entendido que el personalda.salud* cobrara un arancel
de 2. 00, por cualquier visita a un enfermoc visita quer nos séa de urgencia, : si nose freta de una visita de seguimiento o por una derivacion, }

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OE. Le stan SIGNATURE (Paciente Firma)
we 4
PLACE THIS SLIP IN MEDICAL REQUEST BOX OR DESIGNATED AREA (Pon este articulo’ en la caja médica u otra area designada, ).
/ DO NOT WRITE BELOW THIS AREA (No escriba debajo de esta 4 area. ) .
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(Original —Méedical Record Yellow Copy- Inmate/Patient Pink Copy-Business Office) :

 

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(THE AREA BELOW !S NOT TO BE USED FOR EDUCATION, COUNSELING, OR DOCUMENTING A CLINICAL ENCOUNTER)...

 

 

 

 

 

 

 

 

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HEALTH SERVICES REQUEST FORM x “A Rios nived: 1 Mental.Health | DEye Doctor _
(Formulario de Solicitud de Servicios de Salud) : = Receive —— Salud Mental Médico de losojos,

 

 

 

 

 

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Service Requested -
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(Formulario de Solicitud de Servicios de Salud) Salud Mental Médico de fos ojos

   

 

 

 

 

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(Formulario de Solicitud de Servicios de Salud) — Salud Mental Médico de los ojos
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BE 2 cS * LES
PATIENT SIGNATURE (Paciente Firma]

~PLACE THIS SLIP IN MEDICAL REQUEST BOX OR DESIGNATED AREA (Pon este articulo en la caja médica u otra 4rea designada.)
DO NOT WRITE BELOW THIS AREA (No escriba debajo de esta area.)

(Original - Medical Record Yellow Copy-.Inmate/Patient Pink Copy-Business Office)

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Called Down at: (for urgent issue)
Other:
Response Recommendation (to be completed by Medical Staff Only} ,
initial an Nurse O Boctor Cl Dentist (1 Eye Doctor CD Mental Health CT] ARNP
Appointment _ UO Nurse 1 Doctor oO entist | Ey ye Doctor DO Mental Health 1 ARNP
Fee Charge ej [eee a / _ eos “
Comments: ! { — i “| pk
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Wolke fhaG apie ele & sce f
Staff Signature: fee

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NA7141-KS-DOC ©2013 Corizon Health, inc.

issued 01/06/2013 ben

 

 

 
 

 

  
     
  
 
 
 
 
 

 

 

 

 

C2E ON

HEALTH®

 

 

ice Solicitado *:
Doctor: a Sental ~
| Dental:
[Eleye Doctor |)’
| Médico de los ojos. ||. ~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Print Name. (imprimig, nombre): he 5
Date of Request (Fecha de soljcitud):

 

 

 

 

 
 

 

 

AD #: QTR AS “ ef EE of

Housing Location (Ubicacién’ de la Vivienda): EA- Wa, fart ‘ a wires A CR no,
Nature of problem or request (Naturaleza del problema o solicitud): A Wortod tar AnemE Mach cor. “Hacc LO Vet
Ao ak fisaty wo. Shs oslo oe Aa Sea! Coe Oe Oe. SZ. Sime Ao GANS Rin ety

    

   
 

 

 
 

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HAS & CANT ¢ Ataok Cah tom {NES aS ee By aps Fisch Kes ete ce 5

 

i necesariamente 2 implica que estoy de acuerdo en que se me cobren cargos.”
por dichos servicios dé salud. Comprendo que, ert ‘caso de no esti de acuerdo con el cobro de algun cargo, puedo presentar un reclamo ante ‘
el Alcalde, de conformidad con-las reglamentaciones del: KAR 44-15- 101 “et seq. Tengo entendido que el personal de salud cobrara un arancel
de $2, 00 of. cualquier visita a un enfermo 9 visita que no ‘sea ade urgencia, sino se trata de una visita de sezulmiento ¢ 9 Por: una  derivacion. }.
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r aris SIGNATURE (Paciente Firma) eo on Ook
PLACE THIS SLIP IN. MEDICAL REQUEST BOX OR 3 DESIGNATED. AREA {Pon este. articulo e en lac caja médica u otra area  designada ) :
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Triaged by:

 

Date:

 

 

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Other: 4 3s

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Initial i a yO ctor. Mental Health = CVARNP-
Appointment : .-: [) Mental Health _ ODIVARNP..---
Fee Charge ae - =

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ote ELE: Le

- @2013, Corizon Health, Inc.

Staff Signature:

NA7141-KS-DOC
Issued 01/06/2013

 
 

  

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“a ON *. || FOR MEDICAL USE ONLY |} || ServiceRequested. |

 

 

 

 

 

 

 

 

STEALTH os Sélo" para uso médico : Servicio Solicitado
ALE Lo. finase C] Doctor | Dental
° Date Rgceived: aa, ENfermera | Doctor ‘| Dental
HEALTH SERVICES REQUEST FORM : Time Received. : poe UM [J Mental Health | [] Eye Doctor: .
(Formulario de Solicitud de Servicios de Salud) a Salud Mental ~ Médico de los ojos

 

 

 

 

 

 

 

 

 

 

Print Name ({mprimir nombre): Ave hs | C “ee Sid i.
Date of ‘Request {Fecha de solicitud): Ve a
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wh SLL Uk TE coool Vi
i consent to be treated by health staff for the condition described, e 5 ALEKS bp J Doc hoy
(Da su consentimiento para ser tratada por el personal de salud para la condicion descrita.) Ie } ett
FeV

| understand that my requesting health services does not necessarily mean that | agree that 1 should be assessed a charge for healthcare.
services. if | disagree with any charges assessed, | understand | may file a’ yerievance with the Warden as per KAR 44-15-1011 et seq. | th
understand that a $2.00 fee will be assessed for any sick call visit and ang. non-emergency visit to heatlh care staff if it is not a follow-up visit

or referral. i

(Entiendo que mi solicitud respecto de recibir servicios de salud no necegariamente implica que estoy de acuerdo en que se me cobren cargos |
por dichos servicios de salud’ Comprendo que, en caso de no estar de aduerdo con el cobro de algun cargo, puedo presentar un reclamo ante

el] Alcalde, de conformidad con las reglamentaciones del KAR 44-15-101et seq. Tengo entendido que el personal de sdlud cobrara un arancel
de $2.00, por cualquier visita a un enfermo o visita que no sea de urg , sino se trata de una visita de seguimiento o por una derivacién.}

 

 
  
  

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"ATIENT SIGNATURE (Paciente Firma}

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PLACE THIS SLIP. IN MEDICAL REQUEST BOX OR DESIGNATED AREA {Pon este articulo en ja caja médica u otra area designada.)

 

 

 

 

 
  

 

 

 

 

 

 

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(THE AREA BELOW Is NOT TO BE USED FOR EDUCATI oN, cbUNeRUNG, OR DOCUMENTING A CLINICAL ENCOUNTER) -...

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Called Down at: : 2... (for urgent issue) “> ze

Other:

Response Recommendation (to be completed by Medical Staff Only) tee
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Appointment O Nurse 5 |. (Doctor D1 Dentist 1 Eye Doctor C] Mental Health [] ARNP

Fee Charge 98z00 ” if ‘ :

Comments: —— : ‘

Staff Signature: wf PO wl ig” A Date:___ QU/, / G

T ’ ae eet . Xt
NA7141-KS-BOC . ©2013 Cr

Issued 01/06/2013
 

 

 

Health Services Request Form

 

For Medical Use Only.
Sélo para uso médido,, ~>

 

 

 

 

 

 

 

 

 

 

 

 

Date Received: | “jie
. Time Received: CY OC
Print Name (Imprimir nombre): Ba AEE C. G Wt
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IDE COTA Date of Birth (Fecha de iento): lo-2-% oy.
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Nature of problem or request (Naturaleza del problema o SOlicitud): ry! oy ocr CO AERA
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| consent to be treated by health staff for the condition described... 2
(Da: su consentimiento pata ser tratada. por el personal: ide’ salud para la condicién “desorita, )

i understand that my requesting health services does not necessarily mean that | agree that | should be
assessed a charge for healthcare services. If | disagree with any charges assessed, | understand | may
file a grievance with the Warden as per KAR 44-15-101 et seq. | understand that a $2.00 fee will be
assessed for any sick call visit and any non- emergency visit to health care staff if it is not a follow-up
Visit or referral. .

(Entiendo que mi solicitud ‘respect de recibir servicios de salud no necesariamente inplica que estoy de

| acuero en que se me cobren cargos por dichos servicios de salud: Comprendo que, en caso de no.

estar de acuero con el cobro de algtin cargo, puedo presenter un reciamo ante el Alcalde, de~

 Nuabin Senay

Patient Signature (Paciente Firma)
Place the slip in médical requost box or designated area.
(Pon este articulo en la caja médica u otra area designada.)
Do not write below this area. (No escribe debajo de esta area.) _

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“conformidad con las reglamentaciones de! KAR 44-15-101 et seq. ‘Tengo entendido que el persénal de. a .
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"ho. se “V una visita de seguimiento o por una derivacion.

 

 

’ (The aréa. mae pbs used for: education, eee or “Gooumenting: ‘a clinical. encounter).

 

 

 

 

Triaged by: i \ Up Sy, Routine Urgent’ Emergent’
Date: As fo ea dime’ ff 620

Date of Face-to-Face Ve EAN _

Other: Aye

 

. Response Recommendation (to be completed by Medical Staff only)

Initial. [Nurse 1 Doctor 1 Dentist -( Eye Doctor [J Mental Health
Appointment Nurse (1 Doctor « ‘O Dentist O Eye Doctor Cl Mental Health’
Fee Charge £1 $2.00 :

 

 

 

 

 

"Centurion: REC-013KS
07/01/2020

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' Centurion: REC-013KS &,_

- 07/01/2020 OO CO centurion.

 

 

For Medical Use Only
Sdlo para uso médico .. ."s
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Housing Location (Ubicacion de la Vivienda): ages yt
Nature of problem or request (Naturaleza dei problema o solicitud):< ¢ wy ofa, Pry VES YON
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| consent to be treated. ‘by. health staf for the: condition aetiod:

{Da.su conseptimiento: pata ser: trait ata oes personal ‘de salud para ‘la ‘condicién descrita ).

 

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visit or referral.

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estar de acuero.con el cobro de algun cargo; puedo presenter un reclamo ante el Alcalde, de ree
conformidad con las reglamentaciones del KAR 44-15- 101 et seq. Tengo entendido que el personal de,
salud cobrara un arancel de $2.00, por cualquier visita aul enfermo o visita-que no sea de ugencia; sj
“no se trata de una visita, de seguimiento 0 por una derivacién. ),

 

 

Patient Signature (Paciente Firma)

Place the slip in medical request box or designated area.
{Pon este articulo en fa caja médica u otra area designada.}
Do not write below this area. (No escribe debajo de esta area.)

{Original ~ Medical Record, Yellow Copy - Inmate/Patient, Pink Copy — Business Office)

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assessed a charge for healthcare services. If | disagree with any charges assessed, | understand | may |
file a grievance with the Warden as pér KAR 44-15-1041 et seq. | understand that a $2.00 fee will be

 

 
 

 

 

 

 

 

_., (The area below i is fot to-be used red ation, counseling. or documenting;a. clinical, encounter), d.
Triaged by JES A “3 -DRoutinel °C Urgent) “TEmérgent},

Date: pat ey ; Time:

Date of Face-to- Face Vist “VY

Other: ~  YS NS

 

Response Recommendation (to be completed by Medical Staff only)
Initial © ONurse 1 Doctor [Dentist 0 Eye Doctor O Mental Health \ofaRNP
Appointment Nurse. O Doctor O Dentist ; . Eye Doctor _ Cl Mental Health.. O ARNP
Fee Charge 1 $2.00 eo}

 

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Request #179173732

 

Profile Photo:

  

Audit Photo;
‘Audit Phota

 

Job within plumbing

Details of Request:
Tou

UTM Shearburn

Work Assignment:
Lay-in

Comment:

Summary of Request:

 

Resident Info

 

Name: Gustin Brownlee (1983-10-02)

Booking Number: 73693

Submitted Date: 05/17/22 14:10

Submitted from Location/Room: 07,001 154/D
Gurrent Location/Room: 07,001 154/D

Facility: El Dorada Correctional Facility - {KS DOC)

Form Into

 

Category: Form 9

-Form: Unit Team Form 9

Internal Tag: No Tag

Request info

 

Status: CLOSED by Kirbie Todd
Facility Deadilne: 05/31/22 23:59

(Name and Tilie of Officer ar Department}

Please provide details about your request:
State completely but briefly the problem an which you desire assistance. (Be specific)

Fo my understanding It's a few job positions open within plumbing | would like a cppartunity to fi one those positions so i can move forward within this
facility and also if it's bed space open within E cell house [ would like to fill one of those as weil

 

 

 

 

 

 

 

 

05/25/22 21:30 Kisble Tedd Staff Response Your medical restectlans will not aflow you ta work for the plumbing
crow, There ave aise no anon spots on that crew. UTM Shearburn

06/25/22 21:30 Kirbie Todd Changed Status From ‘Open’ to 'Closed?

O8/t7/22 t4r10 Gustin Browslee Submitted New Job within plumbing

 

 

 

 
Request #1785093382

 

Profile Photo: Resident Info

 

Name: Gustin Srownlee (4983-10-02)

Booking Number: 73693

Submitted Date: 05/13/22 12:23

Submitted from Location/Room: 07,001 154/D
Current Location/foam: 07,001154/D

Facility: El Dorado Correctional Facility - (KS DOC)

 

Audit Photo:
‘Audit Photo :
i Form Info

 

Category: Form 9
Ferm: Unit Team Form 9
Internal Tag: No Tag

Request Info

 

Status: CLOSED by Maverick Harsch
Faciilty Deadline: 05/27/22 23:59

Summary of Request:

Job within laundry

Details of Request:

For:
{Name and Title of Officer or Department)
UTM Atkins

Please provide detalls about your request:

State completely but brietly the problem on which you desire assistance. (Be specific)

To my understanding it's a few positions open within laundry 1 would like a chance to wark in the facility | would ike to move forward within the facility do
you have any bed opening within E cell house if can you consider me for a spot

 

Work Assignment:
Lay-in

 

Comment:

 

  

O5AS?22 15:06 Maverick Barschk Stalt Response Duptioate Request

 

05/13/22 15:06 Maverick Horsch Changed Status Fram 'Open' to ‘Closed’

 

O5/£3/22 42:23 Gusils Brownlee Submitted New Job withia laundry

 

 

 

 

 

 
Request #179173732

 

Profile Photo:
Profite Photo

Audit Photo:
‘Audit Photo

Summary of Request:

Job within plumbing

Details of Request:
To:
UTM Shearburn
Please provide detai
To my understanding
Work Assignment:
Lay-in

Comment:

State completely but brietly the problem an which you desire assis

Resident Info

 

 

 

Name: Gustin Brownlee (1983-10-02)

Booking Number: 73693

Submitted Date: 05/17/22 14:10

Submitted trom Lecation/Room: 07,0D1154/D
Current Location/Room: 07,001154/D

Facility: Ei Dorado Correctional Facility - (KS DOC}

Form Into

 

Category: Form 9
Form: Unit Team Form 9
Internal Tag: No Tag

Request Info

 

Status: CLOSED by Kirbie Todd
Facility Deadline: 05/31/22 23:59

{Name and Title of Officer or Department)

Is about your request:

tance. (Be specific)

i's a few fob positions open within plumbing | would like a opportunity to fill ane those positions so | can move forward within this

facitity and also if it's bed space open within E cell house | would like to fill one of thase as well

 

 

 

 

 

 

 

 

 

 
 
 

   

 

 

 

 

 

 

O5(2g/22 21:30 Kirble Todd Staff Response Your medical restrictions will not allow you to work for ike plumbing
crew, There are aiso no apen spats on that crew. UTM Shearburn

05/25/22 21:30 Kirbie Tadd Changed Status From ‘Qpen' to ‘Closed’

05/17/22 14:10 Gustin Brownlee Submitted New Job within plumbing

 

 

 

 

 
AO 240 (Rev, 07/10} Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

 

 

 

for the
Sushia Ptown lee )
Plaintiff/Petitioner ° )
-y: } Civil Action No.
wWaadew SamClire, Et al )
Defendant/Respondent )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

Lam a plaintiff or petitioner in this case and declare that 1 am unable to pay the costs of these proceedings and
chat I am entitled to the relief requested.

In support of this application, f answer the following questions under penalty of perjury:

1. If incarcerated. } ara being held at: E t SoapAdo Contechow FAC tl ity PO.doX All ; EL Dade
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing ail receipts, expenditures, and balances during the last six months for any

institutional account m my name. Lam also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

KS
‘704

2. Ifnot incarcerated, If{ am employed, my employer's name and address are: Nt | A

My gross pay or wages are. $ ' , and my take-home pay or wages are. $ i per

(specify pay period) {4

3. Other Income. Ta the past 12 months, I have received income from the following sources (check all that apply):

 

(a) Business, profession, or other self-employment Yes at No
(b) Rent payments, interest, or dividends TM Yes No
(c) Pension, annuity, or life insurance payments Ol Yes 0
(d) Disability, or worker’s compensation payments Yes . Jao
(e) Gifts, or inheritances O Yes EI No
(f) Any other sources , C1 Yes No

Ifyou answered “Yes ” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect fo receive in the future.

 
, AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)
ae

4. Amount of money that I have in cash or in a checking or savings account: $ ”

 

 

5, Any automobile, réal estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, ‘including any item of value held in someone else’s name (describe the property and its approximate

value): Ao Cc

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount ofthe monthly expense): A/o Ad iC

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support: Aw OMe

8, Any debts or financial obligations (describe the amounts owed and to whom they are payable): Ce unt COS TS /. fees /

And tipevses fe fhe STATE OF KANSAS

Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.

Date: U At~ 1A

 

Applicant's signature

Cush C.Rew ole lee

AB _ DNL) Printed name

 

 

NOTARY PUBLIC - State 0 ANSAS
KIRBIE SHEARBURN
My Appt Expires %

  
  

 

 

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Een 5

 

 
UNITED STATES DISTRICT COURT
District of Kansas

Coustin Bhowilée
PlaintiffPetitioner

APPLICATION TO PROCEED
WITHOUT PREPAYMENT OF FEES
AND AFFIDAVIT BY A PRISONER

bdAadev 4am Cline, Efal.

Defendant/Respondent

CASE NUMBER

lL Crus ft AitwwlEE _ declare that I am the (check appropriate box)
PX pattioneflaintitimovant C) other
in the above-entitled proceeding; that in support of my request to proceed without prepayment of fees
or costs under 28 USC §1915 I declare that Lam unable to pay the costs of these proceedings and that
Tam entitled to the relief sought in the complaint/petition/motion,
In support of this application, T answer the following questions under penalty of perjury:
1, Are you currently incarcerated? x Yes CONo (if “No,” go to Part 2)
..
IfYes,” state the place of your incarceration Et Doande (othectowa | FACE ty
Are you employed at the institution’? AO
Do you receive any payment from the institution? M0
Attach a ledger sheet from the institution(s) of your incarceration showing at least the
past six months’ transactions . ,

2, Do you have any cash or checking or savings accounts? O ves No

if “Yes,” state the total amount.

 
3, Do you own any real estate, stocks, bonds, 8
automobiles or any other thing of value’

ecurities, other fina’ cial instruments,
C1 Yes Ki No

If Yes,” describe the property and state its value. .

{ declare under penalty of perjury that the above information is true and correct,

pyer ition Goamnln

Signed at: ”
(Location) (Signature)
YAS “EOLO FAA
(Date) (inmate Number)
NOTICE TO PRISONER: A Prisoner seeking to proceed without prepayment of fees shall submit
an affidavit stating all assets. In addition, a prisoner must attach a statement certified by the appropriate
institutional officer showing all receipts, expenditures, and balances during the last six months in your
5 because you have been in multiple

institutional accounts. If you have multiple accounts, perhap
institutions, attach one certified statement of each account.

 
  
 
  
 

Ye B-QOLO

 

Q NOTARY PUBLIC - State of Kansas
Aa, KIRBIE SHES BURN
Es My Appt Expires 2 =

  
 
  

 
 

 

 

 
3/16/20

20 15:24:58 Kansas Department of Corrections PGM - BKROQSOB
Inmate Account Statement

Inmate: 0073693 BROWNLEE, GUSTIN, C
Average Cash Average Forced Average Mandatory
Total Deposits Balance* Savings Balance* Savings? Balance***

August. : 14.01 19.02 Bi.54 00
September: 10.77 6.55 81.62 . 00
October: 269.12 . 73.13 104.87 60
Novembex: 109.22 18.16 116.76 ‘ 00
December: ~ 169,13 29.91 121.74 .o0
January: 179.20 33.20 136.41 - .00
Total all Months: 692.45 169.90 642.94 00
Average for Preceding Months:** 115.24 28.32 107,16 ~90
Current Available Balance as of 3/16/2020: 3.09 145.31
*NOTE: The average balance is calculated from the account data for the inmate

location at the time interest is posted to his/her account for cash,

forced savings, and mandatory savings.
**NOTE: Average balance for preceding months is calculated from only

months for which interest has been posted.
***NOTE: Mandatory savings cannot be spent on court costs or attorney

fees pursuant to statute and the Kansas Department of Corrections policy.

This is to certify that this statement represents a true summary of
deposits and average daily balances for the period shown. The

current balance of available funds is as reflected in the @ ony se F. /
4 “> ? wm .
Certify Cozrect: A No daly paul 3 7 {ROBT

KANSAS DEPARTMENT OF CORRECTIONS . Signature of Authorized Da
714 sW Jackson, Suite 300 CAA ft
Topeka KS 66603-0000 PRA MBE oC IT

Forced

Positicn

Savings is established per Internal Management Policy and Procedure 04-103.

?Mandatory Savings is established per K.S.A- 75-5268 lig).

 

Page

1

 
 

Page 1 of 2, Attachment A, IMPP 01-118D
Effective 03-30-16

PROPERTY DAMAGE/LOSS OR PERSONAL INJURY CLAIM FORM

 

 

 

 

Filed AT Facility No.: Factity Initials: ENC ©
Filed AGAINST Facility No.: Facility Enitials: ety. -

(Refer to PLC coding manual for facility no. & initials)

x . KDOC Number ,
Psomcve Gushes C

 

 

 

 

 

Name of Claimant (Last, First, Mi):

OCDNVELAS

 

 

 

 

Type of Claim (circle one) ; Lost Property Namaged Property fAinjuryy
~~
Amount of Ciaim: SO) Ooo Date of Loss Damage, of Injury (MO/DAY/YR): Ky a3 4 IOV
1

 

Where Loss, Damage, or Injury Occurred:

if occurred in cellhouse, enter cellhouse/room number:
Otherwise, circle ane of the following: Maifroom R&D Central Property

Laundry. —__ Gym Dining Room
(othe Location
NATURE OF CLAIM (Set forth detailed facts, including dale of loss, damage ar injury, how it occurred, place of occurrence, how you claim
institution or employee was negligent, and amount of the claim.}: (\, » 2 A, . Ae Meg” oe
OOS OW PR ost RA vs . JO\ LL LAMBA,

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hoy Waser. TV. Uso Tetoaved Goo TRANadal Vay Gln SOME (CHEN I Fein ops

| am aware that presenting a false claim may result in penalties, (under K.S.A. 75-7501 et seq., KAR, 44-12-101 et seq., etc.), and | declare (or verily,
certify or state) that the foregoing is true and correct to the best of my knowledge, understanding, and belief.

 

——

 

Claimant Signature: Vsuysthen Cc Cheats an A | Date: K-35 AY

 

 

 

   

 

 

 

 

 

 

 

Subscribed and sworn to before me this ‘3 0 cs ool] ee
fy NOTARY PUBLIC - State of Kansas kentb ty) [ert
fet RICHARD b COVER,
‘My Corfimmesion. Bap Ares Expires = i
. at }
Received from eT Date: 5 / se] © Time. (OPS ~ 4
UT Name {print}: “ YC | UT Signature: C Fe | Claimant Initials Bio

 

      

 

Received by Warden/Superintendent on (MO/DAYYR):\_G { | 4 / } s | Facility Log No. Assigned: Cy

 
  

 

investigation Report: SK

 

 

 

Date (MOIDAYIYRY: | aod Name (print): -| UT Member or Investigator Signature:
a | )
Alohi® | AME SOW nif
| j we — C7 ~\
Form #01-118D-001 :

 

 

 
i ‘\ “—
Y iS DEPARTMENT OF CORRECTIONS Vv

   

 
   

 

 
 

 

REPORT OF INVESTIGATION. PAGE 10F |

 

 

 

 

 

 

 

j,, Case: 2. Date of Personal | 3, Amount of Claim: -
Injury injury/Property Damage/Loss:
. 5/23/18
$50,000.00
i, 4.. Facility Log Number Assigned:. CA0705095- | 5, Date Received: 6/13/18 |

 

 

6. Claimant: Brownlee, Gustin #73693

 

 

 

‘ALLEGATIONS: The offender has claimed that he was in a car accident around 5/23/18 and it was due to
the negligence of the DOC staff member. He states he received a back injury during the accident and he was
refused medical treatment at the hospital. He includes that he was also removed from the transport van with
force causing him more pain.

The offender’s issues were reviewed. The officer driving the van and the passenger in the van during the

accident both included their statements for the incident. They did indicate that the offender was “walking
abnormally” prior to the transport and when he was asked what was wrong he advised staff that his back

was “messed up from working out”. .

FINDING OF FACTS: All of the offender’s files were reviewed. He had reported issues prior to his
transport and the accident. From there, medical has followed up with him and noted on many occasions that
the injuries that the offender is reporting do not match the injuries that would be incurred during an accident
like this one that occurred.

RECOMMENDATION: Recommend denial.

 

 

Signature: ‘ Date: ‘ {L, Distribution:
SOpuly | ufec ois
. <> __ Warden
— AE Vb / / 20/, {2 ___ Central Office
, { i. ; ___ Offender
, - __ Other,

 

 

 

 

 

PMNS MEPGNT [5 THE FRGPERTY BE THE KANSAS BEPAMRTELENT OF CORRECTIONS,
WEITER IT WOE 17S CONTENTS BERY DERISSEMINATER @UTSIBE THE ACEWEY 10 WHICH LORHED.

 

 
   

Date:
Case #:
Offense:
Location:

Vehicle 1 (V1):
Vehicle 2 (V2):
Vehicle 3 (V3):
Vehicle 4 (V4):

Vehicle 5 (V5):

priver 1 M1):

Driver 2 (D2):

Driver 3 (D3):

Driver 4 (D4): ©

Driver 5 (D5):

Officer:

Subject:
P.O, Lechner

El Dorado Police Department

{28 N. Vine
El Dorado, KS 67042
(316321 -9120

Accident Narrative #1

05/24/2018

18-00803
Five (5) Vehicle Accident with Minor Injuries
2900 block West Central Avenue

El Dorado, KS

KS 808HCE

2009 Honda Civic

Gray, 4 Door

KS 99TH WU

3913 Chevrolet Equinox
SUV, Gold in Color

KS Temporary Tag B722370-
1998 Dodge Ram 4500

Blue, Extended Cab

KS N99DIC

2,013 Nissan NV3500

Van, Blue/Gray

KS Official 15849

2013 Ford Ecoline £-350
DOC Transport Van, White

 
 
 

THalee Ja Roland

 
 
 

Steven D Gaston

 

 
 
 
 
 

Steven L Maus

Jennifer Marie Dutton

Eyman Dane Dowling
Emmitt Lechner

Narrative
1 of 4

. Case ff: 18-00803

 
El Dorado Police Department
]28 WN. Vine :
E] Dorado, KS 67042
€316)321-9120

 

 

On 05/23/2018 while working as a Patrol Officer for the El Dorado Police Department, | Emmitt
Lechner was dispatched to the 2900 block of West Central Avenue for the report of a multi-vehicle accident
with no injuries. Dispatch advised the aceident was between several vehicle, unknown make and model. I was
dispatched at 1323 and arrived on scene at 1329.

Upon arrival, T spoke to all occupants involved in the accident. it was found passenger of V2 was
reporting chest pain from the seatbelt, and D4 had a bloody nase. I asked Dispatch to start EMS to my location
to check on each patient. Butler County EMS arrived on scene. and triaged “creen” and left the scene after
natients denied further medical treatment. No others except those mentioned reported any injuries.

It was leavned that at the time of the accident an unknown number of people were parked on West
Central Avenue, in the eastbound Jane, and were in the median attempting to catch a dog. A vehicle was stopped
in the westbound lanes of traffic; this vehicle is N6, or non-contact vehicle 6. This vehicle caused other vehicles
behind it to stop, but was not hit in the accident, This vehicle Jeft prior to my arrival and no information was
Jeft.

V1 came to a complete stop behind N6 in the outside lane of westbound West Central Avenue. D2 stated
he was Jooking over at the people in thé median and looked bacl forward to see V1 stopped. V2 reat-ended V1.
_ D3 stated he was also looking at the people in the median and the dog and when he looked ahead V2 was
breaking. V3 attempted to stop wut to no avail. V3 rear ended V2. D4 stated she was looking over at people in
the median and then looked ahead and saw vehicles stopped in the roadway. D4 stated she “came fo a slow
stop” when she was rear-ended by V5. At this time, there ‘s no evidence to indicate how long V1, V2, and V3
were stopped before D4 saw them, or if V4 was at a complete stop when it was rear-ended by V5.

D5 stated observed V4 braking and attempted to stop his vehicle, but to no avail. V5 rear-ended V4.

P.O, Lechner 2 of 4 Case #: 18-00803

 
El Dorado Police Department
128 N, Vine
El Dorado, KS 67042
(3 L6)321-9120

 

  

A witness, Timothy M Wyer tated he. was attempting to help the owner of the dog,
whom is onknown. at this time, catch the dog yn the median. Wyer stated V1 slowed and looked over at them
and then was rear-ended by V2. Wryer stated there was no vehicle stopped in front of V1, however, several
drivers reported someone was stopped in the roadway in front of V1, Di stated she may have bumped N6, but
did not cause any damage to her vehicle or vehicle N6. D2 and D3 both confirmed a vehicle was stopped in
front of V1 and confirmed V1 may have slightly struck vehicle N6.

Vi was 4 gray 9.009 Honda Civic,. bearing Kansas license plate SORHCE. V1 was driven by Halee Jo

& and owned by Curtis L Roland of Wichita, Kansas. V1 sustained damage to the rear

 

Roland, ¥
‘bumper and truck area, but was able to drive away from the scene. D1 stated she hit her head on the steering |
“wheel but was not checked by EMS, to the best of my knowledge.

42 was a gold 2013 Chevrolet Equinox, pearing Kansas license plate QO7H WU. V2 was driven and

 

owned by Steven D Gaston, v2. sustained disabling. damage to both the front bumper and
hood area as well as the rear bumper and rear hatch, V2 was removed from the scene by Heartland Towing of El
- Dorado. Ida R Gaston was checked out by EMS for chest pain due to the seatbelt and refused further treatment

on sostie.

y3 was ‘a blue 1998 Dodge Ram 1500, bearing Kansas temporary tag 722370. V3 was driven and

  

A V3 left prior to my arrival; however, Maus left his information
with Steven Gaston. V3 was later located and photo praphed. Maus also completed a voluntary statement form.

V4 was a blue or gray 2013 Nissan NV3500 passenger van, bearing Kansas O99DIC. V4 was driven and

  

owned by Jennifer Marie Dutton, § iV4 sustained damage to the rear doors and reat bumper.
Dutton had a bloody nese as a result of hitting her nose on the steering wheel. Dutton also refused further

treatment on scene. V4 was occupied by seven (7 ) juvenile children, all of whioh were Dutton’s children.
P.O. Lechner 3 0f4 Case #; 18-00803

 
El Dorado Police Department
128 N. Vine
Ei Dorado, KS 67042
(316)321-9120

 

 

V5 was a white 2013 Ford Ecoline B-350, bearing Kansas Official license plate 15849. V5 is a prison

transport van belonging to KDOC, V5 was en-route from EDCF to an ubknown destination with a prisoner in

 

. the back seat, V5 was driven by Eyman Dane Dowling V5 sustained damage to the front

bumper and bood atea, as well as the engine. Airbags in both seats 01 and 03 deployed in the accident. V5 was
removed from the scene by Heartland Towing of El Derado. The prisoner complained of injuries as a result of
the accident, however, KDOC employees transported him back to EDCF to be examined.
Voluntary statements were completed by each adult that was involved in the accident, as well as one
independent witness. These statement forms are attached to this case as evidence. Ph ofographs were taken of
_ each vehicle involved. It should be noted that vehicles may have been moved prior to my arrival and the
photographs do not precisely document any positions prior to or during the accident.
Nothing further to report at this time.
TE 4
(jr x —
Offic, te “ Enfmitt Lechner
El Dorad Police Department

P.O, Lechner 4of4 Case #: 18-00803

 
RECEIVED
Attachment A, IMPP 07-143

Effective 04-08-2013
MAY 2 4 2018 Kansas Department Of Corrections
AA INCIDENT REPORT
tACQOUNTING DATE: 5-23-18
FACILITY OR PAROLE REGION: EL DORADO CORRECTIONAL FACILITY
UNIT (if Applicable) CENTRAL

ee

- Time Report Submitted: 1530 REPORT #: IR

WHAT HAPPENED: @ilefly desonbe the Incident.) Gar accident with offender in vehicle.

WHEN: Time 1325 Date 5/23/48
WHERE: Comer of 254 and Schoo! ,

WHO WAS INVOLVED: (Provide name(s) of Victim{s), Perpetrator(s), Witness(es) and specify V, P, oF W. Also indleate whether the
individual(s} named are Employees, Volunteers, Private Clizens, Parolees, of Inmates by specifying E,V, C, P, or |, BE SURE TO USE FULL NAMES
FOR ALL ENTRIES.) The R/O, including any narrative report writer, must Include thelr State-lssued ID number a reasonable attempt should be made
fo include race, SBX, and date of birth far subjects who do not have some form of state-issued ID number,

 

 

 

 

 

  
    
   
  
 

 

 

 

 

 

 

Vv
Vv

 

Corby, Bratt

 

 

FULL NAME INMATE/ VP, E+] FULL NAME | INMATE! VP, E-|.
STATE ID Ww STATE ID
NUMBER NUMBER

Dowling, Dane E Brownlee, Gustin 73693 V 1 |

 

 

 

 

 

 

 

HOW DID IT HAPPEN: (Mathod of Operation-M.O-} While driving offender Brownlee to a Dr, visit

 

WHY DID IT HAPPEN; (State Motive cr cause) Vehicles in front of me stopped abruptly causing me to rear-end the vehicte in front of
meg. :

 

Desoription Of Weapon Or Evidence Found: NA

Was Search Of Area Made? C1 Yes & No by Whom: SST Dowling
‘Were Still Photographs Taken? Yes [] No by Wham: SA Galloway
Was a Videotape Made? [1 Yes J No by Whom: NIA -

Evidence and/or Photographs/Videotape ‘Turned Over To: Captains’ office

Was A Follow-Up Investigation Initlated’? Bi Yes [INo

COMNIENTS: (Attach additional pages as necessary.) While stripping offender Brownlee out for a transport, | noticed him moving

abnormally so. asked him .whatwas Wrong. Offender Brownlee stated that bis back was messed. up from working out [Was travelln

weat on 254 In the right lane headed to Wichita. [was approx. @ Car lepath and a half behind.the vehicle in front of me doing approx. 46

moh. The vehicle in front of me fied its breaks abr fy causing the back and of if to lit wo and 1a lied ming. | realized that m

a 50 Llooked ai SST Gorby and said "Bro if's not stopping,” We then rear-ended the vehicie in front
i S81 Corb

       

 

  
    

       

a

Vehicle was not going to stop in tim

of us. | sustalned minor burns fo both forearms. and hands from the airbag deploying. | checked on offender Brownlee while SST Cor
ices. Offender Brownlee stated that his back hurt but he was Fine. When another vehicle came to fake

contacted emerdancy Sety
offender Brownlee back io the facility, he began to act jike he couldn't move his legs due to his back hurting.

    
      

 

 

 

RELATED REPORTS COMPLETED: (Gheck all that apply and attach a copy.)

Disciplinary C1 Yes bd No Use of Force [] Yes Bel No

Wanted For Escape [_] Yes — No Admin. Seg./Pratective Custody [1] Yes Bl No
Other Admin. Seg. ] Yes_ Bal No Placement in County Jail [] Yes Kj No

Other Narratives [7] Yes EJ No

NAME OF OFF CER FIL G REPORT: NAME OF REVIEWING SUPERVISOR:

Signature: Signature of Supervisor.

 

State }D Number:
Printed Full Name:

 

      
  

State ID Number: Bags.
Printed Fuli Name: Dahe
Date: 5/23/48 Date:

Dowling

 

 

 

farm #04-413-604

aye ntenenentvurmeresen

 

 
‘RECEIVED
MAY 2 4 2018 ‘ Attachment A, IMPP 01-118

Effective 04-08-13
Kansas Department of Corrections

ACCOUNTING INCIDENT REPORT

PAGILITY OR PAROLE REGION:__ EDCF

DATE:05-23-2018

ee eee

"UNIT (if Applicable} Gesiteal

Time Report Submitted:1530 REPORT # IR__ 4 —---

 

WHAT HAPPENED: (Briefly Gescribs tha cident.) while on transport to Wichita, we were imvolved in an
accident just outside of Bi Dorado,

WHEN: Timel325 AMUPM DATE: 05-23-2018

WHERE comer of 254 and achool

WHO WAS INVOLVED: {Provide name(s) of Wiolimi(s), Perpatrator(s}, Witness{es) and.spealty ¥, P, or W.

Algo. Indicate’ whether the individual(s) named are Emplayses, Volunteers, Private Gifizens, Parglaes, or Inmates by
_ specifying E, V, GP, oF | BE SURE TO USE FULL NAMES FOR ALL ENTRIES.) The RQ, Including any narrative

raporl writer, must include their State-Issued ID number, Areasonable allempt should bs mace to Include race, SAX,

and date of birth for subjecta who do, not have sorna form of state-iestied ID number,

 

 

   
 

 

 

 

 

 

FULL NAME INMATE! | V.PW, | E4 FULL NANIE INMATE! | V,P,W, | El
STATE ID STATE 1D
NUMBER NUNIBER

Carby, b, |

Dowling, D. ° |

Brownlee | 73693 | |

 

 

 

 

HOW BID IT HAPPEN: (Methed of Operation-M.0.) while waveling on 254, several vehicles stopped
abruptly in frottt of us causing us to rear end a vehicle making my hand hit the air bag when it deployed and
then I punched myself in the sight eye with the same hand,

 

 

 

Way DID IT HAPPEN: {State Motive or Gause) it ls unkown at this fime why it happened.

 

Desaription Of Weapon Or Evidence Found: NA

Was Search Of Area Made? X Yes No, by Whom: EAT
Were Still Phofographs Taken? X Yes No, by Whom: EAL
Was a Videotape Made? Yes X No, by Whom: NA . :

Evidence and/or Photographs/Videotape Turned Over To; CAPTAINS OFFICE

Was & Follow-Up Investigation Initlated? X¥es No

COMMENTS: (Attach additlonal pages &5 necessary.) Offender was transported back fo facility to be assessed.
by medical, and myself and SST Dowling will be seeking medical attention.

RELATED REPORTS COMPLETED: (Check-all that apply and attach a copy.)

Disciplinary; Yes XNo Use of Force: Yes XNO
Wanted For Escape: Yes XNo Admin Seg/P.C.. Yes X No
Other Admin Seg: Yes X No Placement in County Jalt: Yes XNo
Yes X No.

———

Other Narratives:

NAME OF 0. NAME OF REVIEWING SUPERVISOR.

    
    

ICER FILING-REPORT:

Signature: 2 zee... Signature of Supervisg
State ID Numbers ° State ID Number: aaa
Printed Full NametZaxcé Printed Full hame
Date S237 Date: S/ 23 Loy

Form #01+113-004

   
   
 

 

 

 

 
RECEIVED
MAY 2 4 2018 injured Employee's Report of Injury

AQ@@ Un TdHEanial injury was submitted by your employer. Payment of disability compensation and/or medical
expenses will be considered after this completed form and other information are received.

4, Full name of injured employee: Corby, Brett

  
  

2. Employee's address:

3. Telephone: Home: : jae Wort: (316-321-7284 _

 

4, Employer/Agency: __El Dorado Correctional Facility

5, Job Title: Employee (D # or SSN: Correction Officers

    

 

6, Date and time of accident 05-23-2018 1825
7, Missed work from: thru, NIA
8, Date returned to work: If not, then expected return to work date: 05-24-2018

9. Describe the accident: (What happened, where, how, witnesses): __ several vehicles tnfrant of transport
stopped suddenly and a vehicle was rear ended by us.

Pose
40, What injuries were incurred’? Back lash, severe pain in right hand. Punched in tight eye by own right hand

ge nts Rite t
Beni ae

 

11. Name/address of attending and/or subsequent physicians of hespitals:

 

 

 

 

' 42, Have you received workers compensation benefits before? if so, provide details such as employer, carrier,
nature and dates of injuries. ‘NO

 

 

 

To claim compensation in accordance with Workers Compensation, sign and return this form to:
State Self-Insurance Fund
Room 900-N, Landon State Office Building
900 SW Jackson. -
Topeka, Kansas 66612
Phone: (785) 295-2364 Fax: (785) 296-6995

AUTHORIZATION
| hereby authorize and request any physician or Hospital to permit a rapresentaiive of the State Self-Insurance Fund to be

furnished a copy of all medical records in connection with any past or present medical treatment associated with this
Injury. Fam willing that a photocopy or fax of this authorization be accepted with the same authority as the original,

oo
Signed: Bae Pate SoZ KAS 5

vai

. Form We(Rev, 01/41)

 

 

 
Injured Employee's Report of injury RECEIVED

A report of accidental injury was submitted by your employer. Payment of disability compensation and/orypredispld, 2018
expenses will be considered after this completed form and other information are received,

.c QUNTING
4. Full name of injured employee. Eyman Dane Dowling ACC Ni IN

  
 
 

2, Employee's address:

 

3, Telephone: Home: - Work: (316)321-7284

4, EmployerfAgency. El} Dorado Correctional Facility

 

 

 

5. Job Title: Employee ID # or SSN:

 

 

 

 

6. Date and time of accident: 6/23/18 @ 1325

 

 

7. Missed work from: thru NIA

 

 

8, Date returned to work. if not, then expected return to work date: N/A

-

9, Describe the accident: (What happened, where, how, witnesses): _| was traveling west on 254 in the right
lane, | was-approx. @ Gar jencth and a half behind the vehicle In front of me, The yehicie in front of meé applied its
breaks abruptl causing the back end of it to liftup and|a fied mine. | realized that m vehicle was not going to

stop in fime so. | looked at SST_Gorby and said "Bro it's not stopping.” We then rear-ended the yehicle in front of
us,

renee et cetera

 

       

 

 

40, What injuries were incurred? Burns and bruises on both forearms

44, Namefaddress of attending and/or subsequent physicians of hospitals: :

 

 

 

 

 

 

 

 

12, Have you received workers compensation benefits before? If so, provide details such as employer, carrier,
nature and dates of injuries. : yes 4/49/18 ribs and hand,

 

 

 

 

 

To claim compensation in accordance with Workers Compensation, sign and return this farm fo:
State Self-Insurance Fund
Room S00-N, Landon State Office Building
900 SW Jackson
Topeka, Kansas 66612
Phone: (785) 296-2364 Fax: (785) 296-8995

 

AUTHORIZATION ' "
| heraby authorize and request any physician or hospital to permit a representative of the State Self-Insurance Fund to be
furnished a copy of all medical records in connection with any past or present medical treatment associated with this
injury. | am willing that a photocopy or fax of this authorization be accepted with the same authority as the original.

sqreds | } pate O° 257 '¥
eh er

\

Form WC(Rev. 04/11)

 
ape

DATES El Dorado Police Department "OFFICER: _} D -OO yo 3
TIME: Motor Vehicle Accident Report CA GEBERT

(pate & Time you are eompleting ghis form)

YOLUNTARY STATEMENT

wv Driver Cl Passenger Cl Witress
Accident Location: wi Cont bal Road Condition: Obstructions:

Direction of Trevel: ial ESN Approximate Speed: 35 pe 0 4 Rovie Intended: :
Danger First Noticed: { ah ¢ N BREA KS

_

Action Before (mpact STE Ae, co

Location ef Oiher Vehicle: \ ES |

    
   

   

Action After Impact

 

 
  

In your opinion: what was the cause nf the accident: ( oA (. #& Ee \ 5 ¢ powtl on BE R&B:
Vehicle Information

Make of Vehicle: Ke Model: Eta lipse Year:

Vehicle Colors . M, VAN Fuel Source: GA?

Tag Number i 4¥ oy 9 States ia Year: Odometer: 25/04

 

Registered Owner ' Phone Number?

Policy Number: ee

Insurance Company? a

   
 
   

Aceident Diagram

The driver of every motor vehicle which is in-ony manner involved in an accident, originating from the operation of a motor yehicle on
any street oF pighwoy In the State, which accident has resulted in the clamage 7 properly in excess of one jhousand dollars

($1 000,00) or in which bodily injury OF death of any person, must file a report of injury and damage with the Depariment of Motor
Vehicles within 2.4 hours after the accident.

  
 
 
     

    
   

Date of Birth:

ee

S.S.N.:

  

Height y Hairs Eyes.

Place of Employment: Address: Phone:

 

 
Lo
DATE:_> -Oy3-/ H E| Dorado Police Department OFFICER: _

* TIME: 4 : 5 % Motor Vehicle Accident Report CASE NUMBER:

(bate & Time yeu are completing this farm}

VOLUNTARY STATEMENT
1 _sDriver Passenger Cl Wiiness

Accident Location: led] ye at é a \ Road Condition: alee f Obstructions: hy i

Direction of Travel sds: Approximate Speed: 34° 4g Route Infended:
Danger Firs! Noticed: i nisté Location of Other Vehicle:

  
 
   

  

   

   
 
  
   

Action Before Impact
Action After Impact

In your opinion, what was the cause of fhe accident:

Vehicle Information

   

Make of Vehicle: i rot Model: Ces hte
Vehicle Color fr jAste_ —§$ fie oh Nee Fuel Source: eee SB
A

   
 
     

feti

 

Tag Number: é KE a
Registered Owner ent :

‘Insurance Company?

Detailed Account of Accident in Order_of Sequence Accident Diagram
. oe FP
Pet ay Leo Kwon 2 LAL oe f 4

      

—_ =
Zz +
rh. ‘2 parte / Cine Gea 4 pera ft face tA Cut

é. Cate

 

 

 

 

The driver of every motor vehicle which is in any manner involved in an accident originating from the operation of
any siteet or hignway in the State, which accident has resulted in the damage fo property in excess of one thousand dollars
AS 000,00) or in vehich bodily injury oF death of any person, must Tile @ report of injury and damoge with the Department of Motor

Vehicles within 24 hou aftier the accident. er"

a motor vehicle on

   
  

PLEASE PRINT THE FOLLOWING INFORMATIO
fr a

     

—.

   
 

 

Height =

Place of Employment:

 
 

 

 
 

 
 

 
 

 

 

 
 

Gosssio BRWALEE ete

AMANDA JOHNSON
Appt Expires

 

 
 

 
 

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Aspe. Fucees Home Modiers A Loess + An _\ngomnation

 

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a guyer Chau

 

SW | C. Woon

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
